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                         THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 DISPLAY TECHNOLOGIES, LLC,

                       Plaintiff,                    Civil Action No. 2:15-cv-998-JRG-JRP

                v.                                      CONSOLIDATED LEAD CASE

 NVIDIA CORPORATION, et al.,                              JURY TRIAL DEMANDED

                       Defendant.


                          AMENDED JOINT MOTION TO VACATE

        Plaintiff Display Technologies, LLC (“Plaintiff”) and Defendants C&A IP Holdings,

 LLC and Ricoh Americas Corporation (“Defendants”) (collectively, “the parties”) hereby

 respectfully request this Court to vacate the Order of Consolidation (Dkt. No. 59) as all other

 consolidated defendants in this case have now settled or have reached an agreement to settle in

 principle and C&A IP Holdings, LLC and Ricoh Americas Corporation are the only remaining

 defendants. Before the Order of Consolidation (Dkt. No. 59), the C&A IP Holdings, LLC case

 (2:15-cv-01633-JRG-RSP) and the Ricoh Americas Corporation case (2:15-cv-01631-JRG-RSP)

 were at the pleading stage and had not been scheduled for an initial scheduling conference. The

 controlling case schedule in the consolidated lead case (2:15-cv-00998-JRG-RSP, Dkt. No. 60,

 Amended Docket Control Order) has already progressed to a deadline of February 25, 2016 for

 submitting the Joint Claim Construction Statement under P.R. 4-3.

        Accordingly, as the defendants in the earlier-filed cases have settled or have reached an

 agreement to settle in principle, Plaintiff and Defendants respectfully request the Court to vacate

 the Order of Consolidation (Dkt. No. 59), set the parties for the upcoming February 22, 2016

 initial scheduling conference in order to get a new Markman and trial date, and, to the extent the
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 Court believes that it is necessary, consolidate the C&A IP Holdings, LLC and Ricoh Americas

 Corporation cases.



 DATED February 16, 2016                   Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 16th day of February, 2016, I electronically filed the

 foregoing document with the clerk of the court for the U.S. District Court, Eastern District of

 Texas, Marshall Division, using the electronic case filing system of the court. The electronic

 case filing system sent a “Notice of Electronic Filing” to the attorneys of record who have

 consented in writing to accept this Notice as service of this document by electronic means.


                                              /s/ Melissa R. Smith
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